Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 1 of 24




                          EXHIBIT A
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 2 of 24




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                       Case No. 9:19-cv-81160

   APPLE INC.,

                      Plaintiff,

           v.

   CORELLIUM, LLC,

                      Defendant.




                APPLE INC.’S FIRST SET OF REQUESTS FOR PRODUCTION
                  OF DOCUMENTS TO DEFENDANT CORELLIUM, LLC

          Pursuant to Federal Rules of Civil Procedure 26 and 34, Plaintiff, Apple Inc. (“Apple”)

   submits its First Set of Requests for Production of Documents to Defendant Corellium LLC

   (“Corellium”). Corellium shall produce each of the Documents requested below within thirty

   (30) days of service, or such other time as the parties may agree, at the offices of Latham &

   Watkins LLP, c/o Elana Nightingale Dawson, Esq., 555 Eleventh St. N.W., Suite 1000,

   Washington, D.C. 20004-1304. Corellium shall timely supplement all responses to the Requests

   below as required by the Federal Rules of Civil Procedure.




                                                   1
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 3 of 24




                                                 DEFINITIONS

          The terms herein shall be given the broadest meaning allowed under the Federal Rules of

   Civil Procedure and the Local Rules. Additionally, as used herein, the terms set forth below

   shall have the following meanings:

          1. “Corellium,” “Defendant,” “You,” and “Your” means Corellium, LLC and any of its

   predecessors, successors, divisions, direct or indirect subsidiaries, parent entities, or other

   affiliated corporate entities, including any agents or Person acting on their behalf or under their

   control.

          2. “Plaintiff” means Apple.

          3. This “Action” means the present lawsuit, Apple Inc. v. Corellium, LLC, No. 9:19-cv-

   81160-RS, pending in the United States District Court for the Southern District of Florida.

          4. “Complaint” means the Complaint and Demand for Jury Trial that Plaintiff filed on

   August 15, 2019 (ECF No. 1).

          5. The term “iOS” or “iOS operating system” means Apple’s iOS mobile operating

   system and other Apple operating systems, including iPadOS™, macOS®, watchOS®, and

   tvOS® operating systems. Unless otherwise specified, this term includes any and all versions of

   iOS, separately or inclusively.

          6. The term “iOS Device” means any Apple device or hardware that runs any version of

   iOS, including but not limited to the iPhone®, Mac®, iPad®, Apple Watch®, AirPods®,

   AppleTV®, HomePod™, and iPod Touch®.

          7. “Virtual Device” means software that mimics the physical hardware, functionality,

   and/or look and feel of an iOS Device.




                                                     2
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 4 of 24




          8. “Corellium Apple Product” means all products developed, produced, or sold by

   Corellium that can enable creation of at least one Virtual Device. Unless otherwise specified,

   this term includes any and all versions of such products, separately or inclusively.

          9. “GUI Elements” means the visual design elements, or graphical user interface

   elements, displayed in iOS Devices, including background wallpaper images, icons, and other

   visual features, and all other visual design elements that appear substantially similar to those

   displayed in iOS Devices.

          10. “Security Measures” means all features of iOS and iOS Devices designed to prevent

   access to the software or other material stored on the iOS device, including any measures used to

   protect, encrypt, or otherwise secure applications used by the iOS operating system.

          11. “dev-fused iPhones” means one or more iOS Devices not sold to the public that have

   one or more Security Measures disabled.

          12. “Person” shall mean any natural person or any legal entity, including, without

   limitation, any business or governmental entity or association.

          13. “Source Code” means computer code, scripts, assembly, binaries, object code, source

   code listings and descriptions of source code, object code listings and descriptions of object

   code, Hardware Description Language (HDL) or Register Transfer Level (RTL) files that

   describe the hardware design of any ASIC or other chip, and Computer Aided Design (CAD)

   files that describe the hardware design of any component. The scope of this term includes all

   comments. To the extent Source Code is maintained in a repository in the ordinary course of

   business, the scope of this term includes the full repository and not any one version of the

   repository.




                                                    3
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 5 of 24




          14. “Communication(s)” or “Communicated” means all written, oral, telephonic, or other

   utterances of any nature whatsoever, shared, shown, and/or transferred between and/or among

   any Person(s), including, but not limited to, any statements, inquiries, discussions, conversations,

   dialogues, correspondence, consultations, negotiations, agreements, understandings, meetings,

   letters, emails, text messages, voice messages, faxes, notations, telegrams, advertisements,

   interviews, conferences, presentation, and all other Document(s).

          15. “Foreign” means any country except the United States of America.

          16. “Date” means the exact day, month and year, if ascertainable, or the best available

   approximation, including any relationship to other known events (designate whether exact or

   approximate).

          17. Electronically Stored Information,” abbreviated as “ESI” has the same meaning and

   scope as it has in the Federal Rules of Civil Procedure and includes, without limitation, the

   following:

                   (a) structured and unstructured data, as those terms are defined in the Sedona

          Conference Glossary, www.thesedonaconference.org/publications;

                   (b) activity listings of electronic mail receipts and/or transmittals;

                   (c) output resulting from the use of any software program, including, without

          limitation, word processing Documents, spreadsheets, database files, charts, graphs and

          outlines, electronic mail, text messages (SMS, MMS or TMS) iMessages, Blackberry

          Messenger (BBM), AOL Instant Messenger (or similar program) or bulletin board

          programs, operating systems, Source Code, PRF files, PRC files, batch files, ASCII files,

          and all miscellaneous media on which they reside and regardless of whether said

          electronic data exists in an active file, a deleted file, or file fragment;




                                                      4
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 6 of 24




                  (d) any and all items stored on computer memories, hard disks, floppy disks, CD

          discs, DVD discs, flash drives, thumb drives, memory cards, magnetic tape, microfiche,

          or in any other vehicle for digital data storage and/or transmittal, such as, but not limited

          to, a personal digital assistant (e.g. Blackberry, Smart Phone or similar device) and file

          folder tabs, and/or containers and labels appended to, or relating to, any physical storage

          device associated with each original and/or copy of all Documents requested herein;

                  (e) any and all items stored on voice-mail systems, websites, company intranet

          sites, chat rooms and social networking websites; and

                  (f) any and all data, data compilations, and data analyses.

          18. “Document” means all documents, ESI, and tangible things in the broadest sense

   under Federal Rules of Civil Procedure 34 and Federal Rules of Evidence 1001, and means

   anything that can be read, viewed, heard, or otherwise understood. Subject to and in accordance

   with the Instructions infra, “Document” shall not be limited in any way with respect to medium,

   embodiment, or process of creation, generation, or reproduction; “Document” shall include,

   without limitation, all preliminary, intermediate, and final versions thereof, as well as any

   notations, comment, and marginalia (handwritten or otherwise) appearing thereon or therein;

   “Document” shall include originals (or high quality duplicates), all non-identical copies or drafts,

   and all attachments, exhibits, or similar items. Any Document bearing on any sheet or side

   thereof, any marks, including, without limitation, initials, notations, comments, or marginalia of

   any character which are not part of the original text or reproduction thereof, shall be considered a

   separate Document.

          19. “Identify” means that the following information shall be provided:




                                                    5
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 7 of 24




                 a.   When used in reference to a Document, state the (i) type of Document; (ii)

                      general subject matter; (iii) Date of the Document; (iv) authors(s),

                      addressee(s) and recipient(s); and (v) any applicable Bates number(s).

                 b. When used in reference to a product, state: (i) the product’s external and

                      internal product names and numbers; (ii) the date range the product was

                      developed; and (iii) the date range the product was available for sale or

                      license.

                 c. When used in reference to any natural person, state: (i) the person’s full name;

                      (ii) last known home address; (iii) last known business address and telephone

                      number; (iv) last known title or occupation; (v) last known employer; and (vi)

                      if applicable, his or her connection to the subject matter of the request.

                 d. When used in reference to any legal entity, such as a corporation, company, or

                      person other than a natural person, state: (i) the entity’s name; (ii) the place of

                      incorporation or organization; (iii) the last known address and phone number

                      for its principal place of business; (iv) the type of entity (e.g., corporation,

                      partnership, trust); (v) the entity’s registered agent; and (vi) the nature of the

                      business conducted by the entity.

                 e. When used in reference to any Communication, state: (i) its date and place;

                      (ii) the Person(s) who participated in it, were present during any part of it, or

                      have knowledge about it; (iii) its form (e.g., telephone conversation, text

                      message, email) and (iv) its content and substance.

          20. “Relating to,” “related to,” “referring to,” “regarding,” or “with respect to,” when

   referring to any given subject matter, means without limitation any information or Document that




                                                     6
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 8 of 24




   in whole or in part and directly or indirectly relates to, concerns, regards, discusses, describes,

   depicts, demonstrates, shows, evidences, supports, refutes, contradicts, summarizes, analyzes,

   assesses, bears upon, comments upon, pertains to, constitutes, comprises, involves, contains,

   embodies, reflects, alludes to, identifies, states, mentions, refers to, deals with, or is any way

   relevant to the particular subject matter identified.

          21. “All” should be construed to include the collective as well as the singular and shall

   mean “each,” “any,” and “every.”

          22. The connectives “and” and “or” shall be construed either disjunctively or

   conjunctively, as necessary, to bring within the scope of the Request all responses that might

   otherwise be construed to be outside the scope.

          23. “Any” shall be construed to mean “any and all.”

          24. “Including” shall be construed to mean “including without limitation.” “Including” is

   used to emphasize certain examples and should not be construed as limiting the Interrogatory in

   any way.

          25. The use of the singular term of any word includes the plural and vice versa.

          26. The past tense includes the present tense, and vice versa, when the clear meaning is

   not distorted by changing the tense.

                                            INSTRUCTIONS

          1. The requests herein cover all Documents within Your possession, custody or control,

   regardless of whether they are currently in Your possession, including, but not limited to, all

   Documents within the possession, custody, or control of persons acting on Your behalf or at

   Your instruction.




                                                      7
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 9 of 24




           2. Pursuant to Federal Rule of Civil Procedure 34(b), You are instructed to produce

   Documents as they are kept in the usual course of business or organized and labeled to

   correspond with the categories in this Set of Requests. Such Documents shall be designated as

   responsive to the particular Request as designated herein. Documents are to be produced in full

   and unexpurgated form.

           3. This Set of Requests is continuing so as to require further and supplemental

   production by You in the event You obtain or discover additional Documents between the time

   of initial response and the time of hearing or trial. Fed. R. Civ. P. 26(e).

           4. All Documents that are in paper form or that constitute other physical objects from

   which information may be visually read or viewed, as well as audio or video tapes and similar

   recordings, shall be produced in their original form or in copies that are exact duplicates of the

   originals. All electronic Documents shall be produced in a commonly readable and searchable

   electronic form and shall include all metadata (i.e., information describing how, when, and by or

   to whom the electronic Document was collected, created, accessed, modified, formatted,

   distributed, etc.).

           5. If any Document covered by this Set of Requests is withheld by reason of a claim of

   privilege (including work product immunity), You shall furnish a list within 30 days identifying

   for each withheld Document: (1) the nature of the privilege (including work product) that is

   being claimed, (2) the type of Document withheld, (3) the general subject matter of the

   Document, (4) the date of the Documents and (5) such other information as is sufficient to

   Identify any withheld material, including, where applicable, the author(s) or source(s) of any

   Document, the addressee(s) and recipient(s) of any Document, and where not apparent, the

   relationship of the author(s) or source(s) and addressee(s) or recipient(s) to each other.




                                                     8
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 10 of 24




           6. In the event that any Document called for by this Set of Requests has been destroyed,

    lost, discarded, or otherwise disposed of, any such Document is to be identified as completely as

    possible, including, without limitation, the following information: date of disposal, manner of

    disposal, reason for disposal, person authorizing disposal, and person who disposed of the

    Document.


                                 DOCUMENTS TO BE PRODUCED

    REQUEST FOR PRODUCTION NO. 1:

           Documents sufficient to show the design, structure, and operation of the Corellium Apple

    Product.

    REQUEST FOR PRODUCTION NO. 2:

           Documents sufficient to show how the Corellium Apple Product downloads one or more

    iOS firmware files and loads it onto a Virtual Device.

    REQUEST FOR PRODUCTION NO. 3:

           Documents sufficient to show how the Corellium Apple Product creates one or more

    copies of an iOS firmware file and loads it onto a Virtual Device.

    REQUEST FOR PRODUCTION NO. 4:

           Documents sufficient to show any modifications the Corellium Apple Product makes to a

    copy of iOS in order to create or modify a Virtual Device.

    REQUEST FOR PRODUCTION NO. 5:

           All Documents referring to, describing, evidencing, or showing any Security Measures in

    iOS, iOS Devices, or any other Apple products.

    REQUEST FOR PRODUCTION NO. 6:




                                                     9
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 11 of 24




           All Documents describing, evidencing, showing, or referring to the actions performed by

    Corellium, Corellium’s users or customers, or the Corellium Apple Product that bypass, or

    enable the bypassing of, any Security Measures in iOS and any other Apple product.

    REQUEST FOR PRODUCTION NO. 7:

           All Documents relating to the functionality and design of all hardware used by, or in

    conjunction with, the Corellium Apple Product, including engineering specifications,

    requirements documents, design documents, interface or product specifications, block diagrams,

    flowcharts, models, installation manuals, user manuals, engineering/technical manuals,

    engineering or design change notices or requests, schematics, and register-transfer level (e.g.,

    Verilog or VHDL) Source Code.

    REQUEST FOR PRODUCTION NO. 8:

           All Documents relating to the functionality and design of all software developed by

    Corellium or used in the Corellium Apple Product, including engineering specifications,

    requirements documents, design documents, interface or product specifications, block diagrams,

    flowcharts, models, installation manuals, user manuals, engineering/technical manuals,

    engineering or design change notices or requests, schematics, and Source Code.

    REQUEST FOR PRODUCTION NO. 9:

           All Documents relating to the functionality and design of all firmware developed by

    Corellium or used in the Corellium Apple Product, including engineering specifications,

    requirements documents, design documents, interface or product specifications, block diagrams,

    flowcharts, models, installation manuals, user manuals, engineering/technical manuals,

    engineering or design change notices or requests, schematics, and Source Code.




                                                    10
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 12 of 24




    REQUEST FOR PRODUCTION NO. 10:

           All Documents relating to the design and development of the Corellium Apple Product,

    including but not limited to notebooks, sketches, notes, performance and design specifications,

    schematics, tests, simulations, analyses, prototypes, manuals, and narrative descriptions.

    REQUEST FOR PRODUCTION NO. 11:

           All Documents relating to the architecture and structure of the Corellium Apple Product,

    including but not limited to network diagrams, sketches, notes, performance and design

    specifications, schematics, tests, simulations, analyses, prototypes, manuals, and narrative

    descriptions.

    REQUEST FOR PRODUCTION NO. 12:

           All Documents comprising or relating to any testing or analysis of the Corellium Apple

    Product or any associated hardware at any stage (including development, production, and post-

    production).

    REQUEST FOR PRODUCTION NO. 13:

           All Documents related to any third-party testing, analysis, performance, examination,

    assessment, and/or evaluation of the Corellium Apple Product or any associated hardware.

    REQUEST FOR PRODUCTION NO. 14:

           All Documents relating to or referring to design or performance specification for the

    Corellium Apple Product requested or required by Corellium, Corellium’s customers, or

    Corellium’s potential customers.

    REQUEST FOR PRODUCTION NO. 15:

           Documents sufficient to show the system architecture of all private installations of the

    Corellium Apple Product.




                                                    11
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 13 of 24




    REQUEST FOR PRODUCTION NO. 16:

           Documents sufficient to show the system architecture of any cloud-based version of the

    Corellium Apple Product.

    REQUEST FOR PRODUCTION NO. 17:

           Documents sufficient to Identify each Corellium Apple Product, including all internal and

    external product names used by Corellium or its employees to refer to the Corellium Apple

    Product, or any components thereof, including as used in communications with Corellium’s

    customers or potential customers.

    REQUEST FOR PRODUCTION NO. 18:

           All user manuals, user guides, instruction manuals, installation manuals, operation

    manuals, training manuals, frequently asked questions, summaries, or other documentation

    directed to users or customers of the Corellium Apple Product.

    REQUEST FOR PRODUCTION NO. 19:

           All Documents relating to any training or instruction in the use of the Corellium Apple

    Product, whether internal or external, including but not limited to user guides, user manuals,

    setup guides, troubleshooting references, frequently asked questions, and sales guides.

    REQUEST FOR PRODUCTION NO. 20:

           All Documents and Communications relating to Your obtaining any of Apple’s products,

    including but not limited to Your acquisition of one or more dev-fused iPhones.

    REQUEST FOR PRODUCTION NO. 21:

           All Documents and Communications relating to Your use, study, evaluation, or analysis

    of any Apple products, including but not limited to dev-fused iPhones.

    REQUEST FOR PRODUCTION NO. 22:




                                                    12
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 14 of 24




           All Documents related to Your extracting information from, reverse engineering,

    deconstructing, or in any way determining, or attempting to extract information from, reverse

    engineer, deconstruct, or in any way determine, the functionality of any materials or products

    that originated from or were supplied by Apple, including but not limited to developer’s notes

    and other documents developed in the reverse engineering of iOS Devices.

    REQUEST FOR PRODUCTION NO. 23:

           All Documents related to Your altering, modifying, or otherwise creating any derivative

    works as a result of reverse engineering Apple products.

    REQUEST FOR PRODUCTION NO. 24:

           All Documents referring to, relating to, or constituting any license, agreement, contract,

    or covenant (whether written or oral) to which You are a part that covers or otherwise relates to

    the Corellium Apple Product or any feature, technology, component, or part thereof, or any

    technology in the Corellium Apple Product.

    REQUEST FOR PRODUCTION NO. 25:

           All Documents referring to, relating to, or constituting any compensation (e.g., running

    royalties, lump sum payments, stock, equity) received or paid under any license, agreement,

    contract or covenant to which You are a part that covers or otherwise relates to the Corellium

    Apple Product or any feature, technology, component, or part thereof.

    REQUEST FOR PRODUCTION NO. 26:

           All Documents constituting, referring to, or relating to licenses, sale rights, or use rights

    granted by Corellium to any Person which refer or relate to the Corellium Apple Product.

    REQUEST FOR PRODUCTION NO. 27:




                                                     13
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 15 of 24




           All Documents constituting, containing, or relating to agreements by or on behalf of any

    Person, to indemnify or hold harmless for liability arising out of claims or accusations of

    copyright infringement.

    REQUEST FOR PRODUCTION NO. 28:

           All Documents constituting, containing, or relating to any insurance policies under which

    an insurance business may be liable to satisfy all or part of any judgment in this Action or to

    indemnify or reimburse for payments made to satisfy the judgment in this Action, including but

    not limited to Corellium’s agreement with First Community Insurance Company, Business

    Owners Policy, Policy No. 09 0005813592 6 00.

    REQUEST FOR PRODUCTION NO. 29:

           All Documents referring or relating to any request for, or negotiation of, an

    indemnification for copyright infringement.

    REQUEST FOR PRODUCTION NO. 30:

           All Documents constituting, containing, referring to, or relating to any policies, practices,

    guidelines, or procedures relating to licensing any of Your intellectual property rights.

    REQUEST FOR PRODUCTION NO. 31:

           All Documents constituting, containing, referring to, or relating to any policies, practices,

    guidelines, or procedures relating to licensing other parties’ intellectual property rights,

    responding to third party licensing offers, or responding to notices of infringement.

    REQUEST FOR PRODUCTION NO. 32:

           All Documents relating to any intellectual property in which Corellium has rights.

    REQUEST FOR PRODUCTION NO. 33:

           Documents sufficient to Identify all customers of the Corellium Apple Product.




                                                      14
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 16 of 24




    REQUEST FOR PRODUCTION NO. 34:

           All Communications between Corellium and customers, potential customers, or users of

    the Corellium Apple Product.

    REQUEST FOR PRODUCTION NO. 35:

           All Communications with customers, potential customers, or third parties regarding

    private installations of the Corellium Apple Product.

    REQUEST FOR PRODUCTION NO. 36:

           Documents sufficient to show the locations of all private installations of the Corellium

    Apple Product.

    REQUEST FOR PRODUCTION NO. 37:

           All Communications with customers, potential customers, or third parties regarding any

    cloud-based version of the Corellium Apple Product.

    REQUEST FOR PRODUCTION NO. 38:

           All Communications between Corellium and any Foreign government entity, or any agent

    thereof, regarding the Corellium Apple Product or iOS virtualization technology.

    REQUEST FOR PRODUCTION NO. 39:

           All Communications between Corellium and any Foreign Person, or any agent thereof,

    regarding the Corellium Apple Product or iOS virtualization technology.

    REQUEST FOR PRODUCTION NO. 40:

           All Communications between Corellium and Azimuth Security, or any agent thereof,

    regarding the Corellium Apple Product or iOS virtualization technology.

    REQUEST FOR PRODUCTION NO. 41:




                                                   15
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 17 of 24




           All Documents constituting, containing, or relating to agreements between Corellium and

    Azimuth Security.

    REQUEST FOR PRODUCTION NO. 42:

           Documents sufficient to show the countries to which Corellium has made sales or

    anticipates making sales of the Corellium Apple Product or licenses thereof.

    REQUEST FOR PRODUCTION NO. 43:

           All Documents referring or relating to sales of the Corellium Apple Product to customers.

    REQUEST FOR PRODUCTION NO. 44:

           Documents sufficient to identify, for each customer of the Corellium Apple Product, the

    product or license sold, the date of sale, the amount of sale, and the number of units sold.

    REQUEST FOR PRODUCTION NO. 45:

           Documents sufficient to show the number of sales of the Corellium Apple Product since

    the formation of Corellium on a quarterly, or more frequent, basis.

    REQUEST FOR PRODUCTION NO. 46:

           Documents sufficient to show the price of each sale of the Corellium Apple Product since

    the formation of Corellium on a quarterly, or more frequent, basis.

    REQUEST FOR PRODUCTION NO. 47:

           Documents sufficient to show the number of sales of licenses to the Corellium Apple

    Product since the formation of Corellium on a quarterly, or more frequent, basis.

    REQUEST FOR PRODUCTION NO. 48:

           Documents sufficient to show the price of each sale for each license to the Corellium

    Apple Product since the formation of Corellium on a quarterly, or more frequent, basis.

    REQUEST FOR PRODUCTION NO. 49:




                                                     16
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 18 of 24




           Documents sufficient to show Corellium’s gross revenues, total licenses or copies sold,

    average billed sales price, total costs of goods sold, average costs of goods sold, total gross profit

    margin, total net profit margins, variable and fixed costs, and allocated costs since the formation

    of Corellium on a quarterly or more frequent basis.

    REQUEST FOR PRODUCTION NO. 50:

           Documents sufficient to show the amount of money Corellium has spent on research and

    development of the Corellium Apple Product.

    REQUEST FOR PRODUCTION NO. 51:

           Documents sufficient to show Corellium’s pricing policies, approaches, and/or strategies

    for the Corellium Apple Product from the formation of Corellium to present.

    REQUEST FOR PRODUCTION NO. 52:

           All documents comprising or relating to Corellium’s business plans, strategic plans,

    development and sales plans, and forecasts from the formation of Corellium to present.

    REQUEST FOR PRODUCTION NO. 53:

           All Documents relating to revenues, market share, market forecasts, sales projections,

    financial projections, or profit/loss margins (actual or anticipated).

    REQUEST FOR PRODUCTION NO. 54:

           All marketing, sales, and/or promotional Documents and materials relating to the

    Corellium Apple Product or iOS virtualization technology, including without limitation

    webpages, promotional videos, press releases, brochures, conference presentations, conference

    posters, trade show materials, and all drafts thereof.

    REQUEST FOR PRODUCTION NO. 55:




                                                      17
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 19 of 24




           All Documents concerning efforts by Corellium or those acting on behalf of Corellium, to

    sell, license, promote, market, distribute, or otherwise exploit (commercially or otherwise) the

    Corellium Apple Product or iOS virtualization technology.

    REQUEST FOR PRODUCTION NO. 56:

           All Documents relating to or referring to any presentations by Corellium at any

    conference.

    REQUEST FOR PRODUCTION NO. 57:

           All Documents relating to or referring to Corellium’s presentation or other activity at the

    2018 Tencent Security Conference.

    REQUEST FOR PRODUCTION NO. 58:

           All Documents relating to or referring to Corellium’s presentation or other activity at the

    2018 Black Hat USA Conference.

    REQUEST FOR PRODUCTION NO. 59:

           All Documents relating to or referring to Corellium’s presentation or other activity at the

    2019 Black Hat USA Conference.

    REQUEST FOR PRODUCTION NO. 60:

           All disclosures, including without limitation presentations, Corellium has made or given

    to third parties about its products or technology.

    REQUEST FOR PRODUCTION NO. 61:

           All analyses of the Corellium Apple Product relative to any other product.

    REQUEST FOR PRODUCTION NO. 62:

           All Documents prepared for, given to, or provided to customers or potential customers of

    the Corellium Apple Product.




                                                     18
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 20 of 24




    REQUEST FOR PRODUCTION NO. 63:

           All Documents given, provided, or shown to investors or potential investors in Corellium.

    REQUEST FOR PRODUCTION NO. 64:

           All Documents comparing or contrasting the Corellium Apple Product with any Apple

    technology, product, or service, including without limitation any competitive analysis or any

    comparison of any structure, function, operation, advantage, disadvantage, or capabilities.

    REQUEST FOR PRODUCTION NO. 65:

           All Documents relating to, describing, or concerning this Action, Apple, Apple’s

    copyrights, or Apple’s intellectual property.

    REQUEST FOR PRODUCTION NO. 66:

           All Documents concerning, evidencing, referring to, or relating to any bugs, exploits,

    vulnerabilities, or other software flaws reported to Apple as a result of use of the Corellium

    Apple Product.

    REQUEST FOR PRODUCTION NO. 67:

           All Documents concerning, evidencing, referring to, or relating to any bugs, exploits,

    vulnerabilities, or other software flaws in iOS of which Corellium or its employees currently are,

    or have ever been, aware.

    REQUEST FOR PRODUCTION NO. 68:

           All Documents concerning, referring to, or relating to any activities undertaken by

    Corellium as a result of this Action.

    REQUEST FOR PRODUCTION NO. 69:

           All Documents relating to each instance where a customer has asked You to replicate any

    aspect, functionality, method, or process of an Apple product.




                                                    19
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 21 of 24




    REQUEST FOR PRODUCTION NO. 70:

           All Documents relating to or comprising Communications between Corellium and any

    investor, potential investor, customer, potential customer, or third party regarding Apple, iOS,

    this Action, or the anticipation of any copyright litigation.

    REQUEST FOR PRODUCTION NO. 71:

           All Documents comprising or relating to any compliments, complaints, expressions of

    concern, satisfaction, or dissatisfaction by purchasers, users, potential or actual customers,

    industry associations or organizations, or government agencies concerning the Corellium Apple

    Product, including but not limited to any comparisons or contrasts with Apple’s products or

    services.

    REQUEST FOR PRODUCTION NO. 72:

           All Documents relating to Communications, including all Communications, between

    Corellium and Apple.

    REQUEST FOR PRODUCTION NO. 73:

           All Documents relating to any oral and/or written statement that Corellium’s users and/or

    customers were, are, or may or may not be infringing Apple’s copyrighted works.

    REQUEST FOR PRODUCTION NO. 74:

           Documents sufficient to show the time and circumstances under which Corellium first

    became aware of Apple’s copyrights.

    REQUEST FOR PRODUCTION NO. 75:

           Documents sufficient to Identify any Person involved in developing, producing, selling,

    installing, testing, or troubleshooting the Corellium Apple Product.

    REQUEST FOR PRODUCTION NO. 76:




                                                      20
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 22 of 24




            Documents sufficient to Identify Corellium’s directors and officers.

    REQUEST FOR PRODUCTION NO. 77:

            Corellium’s personnel rosters and organizational charts.

    REQUEST FOR PRODUCTION NO. 78:

            Documents sufficient to show the forms of any confidentiality agreements signed by

    Corellium employees.

    REQUEST FOR PRODUCTION NO. 79:

            All Documents, including reports, minutes, presentations, and/or memoranda generated

    for, or as a result of, any Corellium business strategy meetings, conferences, or determinations.

    REQUEST FOR PRODUCTION NO. 80:

            All Documents relating to any offers to acquire Corellium or negotiations regarding any

    potential acquisition.

    REQUEST FOR PRODUCTION NO. 81:

            All Documents relating to grants Corellium has applied for or received.

    REQUEST FOR PRODUCTION NO. 82:

            Documents sufficient to show the forms of any confidentiality agreements signed by

    Corellium customers or users.

    REQUEST FOR PRODUCTION NO. 83:

            Documents sufficient to show any limits imposed, or attempted to be imposed, by

    Corellium on access to, or control of, the distribution of its business information.

    REQUEST FOR PRODUCTION NO. 84:

            All Documents referring or relating to any Document preservation and/or Document

    destruction policies or activities.




                                                     21
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 23 of 24




    REQUEST FOR PRODUCTION NO. 85:

              All Documents on which You intend to rely at any hearing or at trial in this Action.

    REQUEST FOR PRODUCTION NO. 86:

              All Documents relating to Corellium’s affirmative defenses, if any, asserted in this

    Action.

    REQUEST FOR PRODUCTION NO. 87:

              All Documents produced by any third party in response to any subpoena You serve in

    this Action.




              Dated: October 9, 2019                Respectfully submitted,



                                                    By:     /s/ Martin B. Goldberg
                                                           Martin B. Goldberg
                                                           Florida Bar No. 0827029
                                                           mgoldberg@lashgoldberg.com
                                                           rdiaz@lashgoldberg.com
                                                           LASH & GOLDBERG LLP
                                                           100 Southeast Second Street
                                                           Miami, FL 33131
                                                           (305) 347-4040 / (305) 347-4050 Fax

                                                           Kathryn Ruemmler (pro hac vice)
                                                           kathryn.ruemmler@lw.com
                                                           Sarang Vijay Damle (pro hac vice)
                                                           sy.damle@lw.com
                                                           Elana Nightingale Dawson (pro hac vice)
                                                           elana.nightingaledawson@lw.com
                                                           LATHAM & WATKINS LLP
                                                           555 Eleventh Street NW, Suite 1000
                                                           Washington, DC 20004
                                                           (202) 637-2200 / (202) 637-2201 Fax



                                                      22
Case 9:19-cv-81160-RS Document 342-1 Entered on FLSD Docket 04/20/2020 Page 24 of 24




                                              Andrew M. Gass (pro hac vice)
                                              andrew.gass@lw.com
                                              LATHAM & WATKINS LLP
                                              505 Montgomery Street, Suite 2000
                                              San Francisco, CA 94111
                                              (415) 391-0600 / (415) 395-8095 Fax

                                              Jessica Stebbins Bina (pro hac vice)
                                              jessica.stebbinsbina@lw.com
                                              LATHAM & WATKINS LLP
                                              10250 Constellation Blvd., Suite 1100
                                              Los Angeles, CA 90067
                                              (424) 653-5500 / (424) 653-5501 Fax

                                              Attorneys for Plaintiff
                                              APPLE INC.




                                         23
